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                                   STATEMENT OF FACTS

        Your affiant, Corey Green, is a Special Agent assigned to Federal Bureau of Investigation
(FBI). Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of
violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        During the days and weeks after January 6, 2021, a host of photos were publicly shared via
open source sites and social media. An anonymous tipster (hereinafter “Tipster-1”) provided the
below image of an individual who they identified as MIKE ECKERMAN, of Wichita, Kansas.
The photo submitted by Tipster-1 shows Eckerman wearing a load bearing tactical vest and red
Trump hat, posing in front of a painting of George Washington (see below). Tipster-1 stated that
Eckerman had attended West High School in Wichita, Kansas and that Eckerman had sent photos
to friends from Washington D.C. on January 6, 2021.




        Another anonymous tipster (hereinafter, “Tipster-2”) identified a photograph from a
Facebook post related to the Capitol riot on January 6, 2021. Eckerman could be seen wearing the
same red Trump hat and load bearing tactical vest as in the photograph provided by Tipster-1. In
both photographs Eckerman appears to be wearing or holding a neon glove. The photo is shown
below, and it also shows a female and an unidentified individual in sunglasses who were observed
with Eckerman inside the Capitol. Your affiant later compared these two photographs to a Kansas
driver’s license photograph of Michael Eckerman. The person depicted in the photographs from
Tipster-1 and Tipster-2 is consistent in appearance with Eckerman’s Kansas driver’s license
photograph.




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        Your affiant has also reviewed body worn camera footage from January 6, 2021, that
captures an individual consistent in appearance with the individual captured in the photographs
submitted by Tipster-1 and Tipster-2. In that footage, the individual believed to be Eckerman can
also be seen on Washington D.C. Metropolitan Police Officers’ body worn cameras yelling at
officers as they try to keep individuals from advancing up to the Capitol. Eckerman is standing at
the edge of the crowd near to where the officers are being attacked by rioters. In the video,
Eckerman can be seen yelling at officers while they are engaged with others until he leaves the
area with what appears to be the same female with the red scarf shown in the above picture that
was provided by Tipster-2.




        Surveillance camera footage from inside the United States Capitol on January 6, 2021,
revealed Michael Eckerman and his two associates wearing black sweatshirts draped in American
flags enter the Capitol at approximately 2:23 pm EST through the Senate wing door. The video
shows Eckerman (wearing the same clothing as depicted in the photographs from Tipster-1 and
Tipster-2) and his associates making their way into and through the Capitol.

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        At approximately 2:27pm, Eckerman is observed on surveillance cameras pushing his way
toward the front of the crowd where uniformed U.S. Capitol Police Officers have stopped the push
of rioters. Eckerman pushes his way through the crowd up to one of the officers until he is face to
face with the officer. He appears to push the officer backwards several feet. The interaction allows
the crowd to begin moving past the police line. Eckerman then makes his way up a set of stairs to
the second floor Statuary Hall. Eckerman is circled in red in the two images below.




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        Capitol Police Officer K.Y. was identified as the Officer who Eckerman appears to push.
Officer K.Y. was interviewed and stated that the individual later identified as Eckerman made his
way to the front of the crowd and pushed him with aggressive force. The push caused Officer K.Y.
to lose his balance and fall down a small set of stairs. After being knocked to the ground, Officer
K.Y. was sprayed in the face with a fire extinguisher by an unknown individual.

        Based on a review of additional video, Eckerman proceeded through Statuary Hall at
approximately 2:30 pm, accompanied by his two companions who are cloaked with American
flags. Once through Statuary Hall, Eckerman again pushes his way through the crowd until he is
front of another police line. He can be seen yelling at officers for several minutes until the crowd
pushes its way through the Capitol Police Officers toward the House of Representatives side of
the Capitol.




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        From Statuary Hall, video inside of the Capitol shows Eckerman making his way to the
Rayburn Reception Room at approximately 2:40 pm. Eckerman and his companions enter the
Rayburn Reception Room and return to the hallway shortly thereafter. The website
https://history.house.gov/Exhibitions-and-Publications/Capitol/Rayburn-Reception-Room/
depicts the George Washington portrait hanging in the Rayburn Reception Room. Open source
information taken from a New York Times article also revealed the portrait of George Washington.
The portrait in the article appears to be the same portrait by which Eckerman had his photograph
taken in the Facebook post above (the image submitted by Tipster-2).



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       After leaving the Rayburn Reception Room, video footage captures Eckerman making his
way down the hallway toward the east stairs near H208 at approximately 2:42 pm. This location
is near the back entrance to the House Chamber, where Ashli Babbitt was shot by a law
enforcement officer as she attempted to climb through one of the doors where glass was broken
out to access the House Chamber. Just after the shooting, video captures Eckerman and his
companions exiting the Capitol through the upper House doors at approximately 2:44.




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        Your affiant has also reviewed open-source video identified as “FreedomNews.tv” that
documented the events that transpired on January 6, 2021. As part of the video short clips of
interviews were conducted. The person fitting Michael Eckerman’s description appears on the
video and states “I don’t know her name, all I know is we went there (Capitol) as patriots. She is
dead because we’re here. These mother fuckers are traitors, they are fucking traitors!” In this video,
the companions from the Facebook photograph provided by Tipster-2 are observed pulling who
we believe to be Eckerman away from the camera.




       Your affiant located several telephone numbers that were in contact with Eckerman on or
around January 6, 2021. One of the numbers was identified as belonging to Witness #1 (W-1). W-
1 was interviewed by law enforcement and was asked about the number believed to be used by
Eckerman. W-1 confirmed that the suspected phone number associated with Eckerman was in fact
Eckerman’s phone number. W-1 was shown snipped photos of surveillance footage from January
6th which were provided by your affiant (see below). W-1 identified the photos as Michael

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Eckerman. W-1 stated that W-1 knew Eckerman was in Wichita on January 3rd and January 7th or
10th but could not say where he was between that time.

        Law enforcement also made contact with Witness #2 (W-2), who was identified based on
W-2 having phone contacts with Eckerman on January 6, 2021. W-2 confirmed the number your
affiant had was in fact Eckerman’s number. W-2 also identified the same photographs shown to
W-1 as Eckerman. W-2 stated that he/she had called Eckerman on or around the 6th of January,
2021, and Eckerman told W-2 he was in Washington D.C. for a protest for then president Trump.

        W-2 stated that a few days after that call, W-2 saw Eckerman, who told W-2 about the
events of January 6. Eckerman showed W-2 photographs of the crowd outside the Capitol by
displaying them on his phone. Eckerman told W-2 that he went inside the Capitol and took a picture
next to a painting of George Washington. Eckerman also told W-2 that he was several feet away
from the woman who was shot and killed.

      The photographs shown to W-1 and W-2 by your affiant were from January 6, 2021, as
shown below:




        Based on the foregoing, your Affiant submits that there is probable cause to believe that
MICHAEL ECKERMAN violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly
assault or interfere with any person designated in section 18 U.S.C. § 1114 as an officer or
employee of the United States while engaged in or on account of the performance of official duties.
Persons designated within section 1114 include any person assisting an officer or employee of the
United States in the performance of their official duties.



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        Your affiant submits there is probable cause to believe that Michael Eckerman violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

       Your affiant submits there is probable cause to believe that Michael Eckerman violated
18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.

        Your affiant submits there is probable cause to believe that MICHAEL ECKERMAN
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; and (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions. For purposes of Section 1752 of Title 18, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service, including the Vice President,
is or will be temporarily visiting; or any building or grounds so restricted in conjunction with an
event designated as a special event of national significance.




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        Finally, your affiant submits there is also probable cause to believe that Michael Eckerman
violated 40 U.S.C. § 5104(e)(2)(A), (D), and (G), which makes it a crime to willfully and
knowingly (A) enter or remain on the floor of either House of Congress or in any cloakroom or
lobby adjacent to that floor, in the Rayburn Room of the House of Representatives, or in the Marble
Room of the Senate, unless authorized to do so pursuant to rules adopted, or an authorization given,
by that House; (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings



                                                     _________________________________
                                                     Special Agent Corey Green
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of September, 2021.


                                                     ___________________________________
                                                     HONORABLE ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




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